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  Case 2:97-cv-02034-MTB Document 29 Filed 09/04/03 Page 1 of 27 PageID: 261     •
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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY                     RECEIVED
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 LOUIS ANTHONY MANNA,                                                                  CLERK
                Petitioner-Movant,



                  v.                                                Discovery In connection With
                                                                    Proceeding Pursuant To
                                                                    28 u.s.c. §2255
 UNITED STATES OF AMERICA,
                      Respondent.                                                                       FILED
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        PLEASE TAKE NOTICE, that upon the annexed declaration of Louis A. Manna, dated

August 11, 2003, the Exhibits attached hereto, the Memorandum Of Law submitted in support

hereof, and upon all prior proceedings heretofore had herein, Petitioner will move before this Court,

at a place and time to be determined by this Court in accordance with its Rules:

        I.   For an Order, pursuant to the All Writs Act (28 U.S.C. Sec.1651), Rule 6 ofthe Rules

Governing Section 2255 Proceedings (28 U.S.C. §2255, Proc. Rule 6), the Federal Rules of Civil

Procedure, the Federal Rules of Criminal Procedure, Rule 83.3 ofthe Local Civil Rules ofthe United

States District Court for the District ofNew Jersey and the inherent and supervisory powers of this

Court, directing the Office of the United States Attorney for the District of New Jersey and the

United States Martial Service, to provide the Petitioner with those items of discovery set forth in

Exhibit D to Petitioner-Movant's declaration submitted herewith;
      •               •                              •
  Case 2:97-cv-02034-MTB Document 29 Filed 09/04/03 Page 2 of 27 PageID: 262       •
II.       And for such other and further relief as to this Court may seem just and proper.


Dated: Hackensack, New Jersey
       September 4, 2003




                                                         Paul L. Potenza     I' P IPJ I
                                                         Co-counsel to Petitioner
                                                         Anthony A. Manna
                                                         159 Polifly Road
                                                         Hackensack, New Jersey 07602
                                                         (201) 342-1700

                                                         Pending Admission Pro Hac Vice
                                                         John W. Mitchell
                                                         Co-counsel to Petitioner
                                                         Anthony A. Manna
                                                         600 Third Avenue, 31 81 • Floor
                                                         New York, New York 10016
                                                         (212) 696-9500




To:         The Clerk of the Court
            United States District Court
            For the District of New Jersey

            A.U.S.A. Kevin E. McCarthy
            Chief, Strike Force Division
            Office of the United States Attorney
            For the District ofNew Jersey

            James Plousis
            United States Marshal
            For The District ofNew Jersey
   •                 •                                   •
  Case 2:97-cv-02034-MTB Document 29 Filed 09/04/03 Page 3 of 27 PageID: 263      •

                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY




 LOUIS ANTHONY MANNA
                Petitioner-Movant,


                  v.                                                 Crim. No. 88-239
                                                                     Civil No. 97-2034

 UNITED STATES OF AMERICA
                     Respondent.

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          LOUIS ANTHONY MANNA, pursuant to the provisions of 28 U.S.C. 1746, herewith

makes the following declaration under the penalties of peljury:

          1.     I am the Petitioner-Movant in the above entitled proceeding and I make this

declaration in support of my application for certain discovery, as more fully described in Exhibit D

hereto.

          2.   On or about June 28, 1989, following a trial to a jury, I was convicted of a substantive

RICO count (18 U.S.C. § 1962[c]) and a RICO conspiracy count (18 U.S.C. §1962[d]), and of

several substantive counts alleging violations of18 U.S. C.§ 1952B, §§ 891 & 894, §317 and§ 1955.

On September 26, 1989, I was sentenced by the Hon. Maryanne Trump Barry, to a term of 80 years

imprisonment.



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       3.   Following my conviction, I filed a direct appeal to the United States Court of Appeals

for the Third Circuit. My conviction was affirmed without opinion on November 21, 1990. (United

States v. Manna, 919 F.2d 733 [3d Cir. 1990]) I subsequently filed a Petition for a Writ of

Certiorari, which was denied on April I, 1991. (Manna v. United States, 499 U.S. 949 [1991])

       4.   Virtually from the time of my conviction, I have made every effort to prove that I was

innocent of all charges brought against me and that I was unfairly convicted. To this end, I have

vigorously and diligently pursued requests, under the Freedom of Information Act ("FOIA," 5

U.S.C. § 552), for all information maintained by the government that related to my case. However

my efforts to unearth relevant information met with persistent and continued resistance from the

government and from those individual law enforcement agencies to which FOIA requests were

made. In fact, on a number of occasions I have had to litigate my rights to secure this information.

(Manna v. United States Dep't of Justice, 815 F. Supp. 798 [D. N.J. 1993]; Manna v. United States

Dep't of Justice, No. 92-1840 [D. N.J. August 25, 1993]; Manna v. United States Department of

Justice, 832 F. Supp. 866 [D. N.J. 1993]; Manna v. United States Department of Justice, 51 F.3d

1158 [3rd Cir. 1995]; Manna v. Bell Atlantic ofNew Jersey, eta!, denied [D.C. Civ. No. 94-04917]

affirmed, 65 F.3d 162 [3rd. Cir. 1995]).

       5.   In this regard, it is germane to point out that before filing a Petition for a Writ ofHabeas

Corpus in April of 1997- and aware that the laws relating to habeas corpus petitions provided that

absent unusual circumstances I would have a only a single opportunity to raise newly discovered

information for the District Court's review and consideration- I worked diligently to discover and

secure all available information pursuant to the FOIA. The fact that I was using the FOIA to gather

information for a habeas petition was, at that time, well known to the government. Indeed, as the


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Third Circuit Court of Appeals observed in "Manna v. United States Department of Justice, supra

at 1166; "Manna appears to seek disclosure of the documents in an effort to prove, in a forthcoming

28 US. CA.§ 2255 habeas petition, government misconduct during his criminal prosecution as well

as his innocence."

        5. On April21, 1997, having pursued every possible avenue to secure relevant information

from the government's files, I filed a habeas corpus petition pursuant to 28 U.S.C. §§2255 & 2241.

In an opinion dated January 29, 1998, Judge Maryanne Trump Barry, denied the Petition in all

respects. On February 6, 1998, I filed a motion for reconsideration. On August 4, 1999, my motion

for reconsideration was denied, and in addition, the Court's Order further provided that Petitioner's

request that a Certificate of Appealability issue pursuant to 28 U.S.C. §2253(c), also be denied.

       6.   Even though my habeas corpus petition was denied, I have nonetheless persisted in my

efforts to discover relevant information from the government to prove my innocence. Recently, in

response to a request to the Federal Bureau of Investigation, once again made under the Freedom to

Information Act, I was provided with a document described on its face as a "FBI priority

memorandum." Even though this document was dated "August 4, 1989" - and notwithstanding all

of my prior efforts to cause the FBI to disgorge relevant documents under the FOIA- I had never

seen this memorandum before, I did not know that such a document existed, and most importantly,

I was entirely unaware of the facts and/or subject matter addressed therein.

       7.   In any event, while the 13 page FBI memo is fragmented and substantial portions have

been blacked-out, the information that can be deciphered therefrom is, axiomatically, of enormous

significance.

       8.       As the document attached hereto as exhibit "A" revealed to me for the first time,


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apparently sometime in July of 1989 -just following my conviction but prior to my sentencing - the

FBI allegedly received information from an individual, who the Bureau considered to be a credible

source, that the Petitioner (and perhaps others) were involved in a plot to murder Trial Judge

Maryanne Trump Barry, the United States Attorney, Samuel A. Alito and the chief prosecutor,

AUSA Michael Chertoff. As a result, and as the FBI memo confirms, "appropriate notifications"

were made by the FBI to Judge Barry, United States Attorney, Samuel Alito, AUSA Michael

Chertoff, The United States Marshal's Service, Newark and the Chief Judge of the United States

District Court for the District of New Jersey.

        9.    However, even though these events took place in July and August of 1989, at no time

did anyone from the government, Trial Judge Barry, the Chief Judge of the District Court, the FBI,

or anyone from the U.S. Marshal's Service, ever notify Petitioner or any representative, specifically

including his counsel (trial or appellate counsel) or to Petitioner's knowledge, any co-defendant or

their counsel, that Judge Barry had been warned by the FBI that the Petitioner was involved in a plot

to kill her, the lead trial prosecutor and others. In fact, to this day, Judge Barry has never revealed

that at the time she sentenced the Petitioner, as well as at those times she ruled upon Petitioner's

habeas corpus applications, she was aware of a death threat against her, purportedly involving the

Petitioner.

        10.    On December 16, 2002, Paul Potenza, Esq., acting as my counsel, wrote a letter to

AUSA Kevin E. McCarthy, Chief of the Strike Force Division of the United States Attorney's

Office, as well as to the United States Marshal's Service, Newark, New Jersey. In Mr. Potenza's

letter (attached hereto as Exhibit "B"), he provided a copy of the thirteen page "priority

memorandum" which I had received from the FBI pursuant to my FOIA request, and asked the


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government to produce any information in their possession which related to this alleged murder plot,

including:

               (a)       copies of the interview(s) of and/or statements and
                         information given by the informant;
               (b)       the results of any polygraph test given to the informant and the
                         date(s) thereof;
               (c)       disclosure of the precise date Judge Barry, Mr. Chertoff and
                         the other victims of the alleged conspiracy were advised of
                          same;
               (d)       disclosure of any security or other precautions provided to the
                         victims of the alleged conspiracy; and,
               (e)       copies of all internal memorandums and investigative reports
                         prepared in connection with the FBI's investigation of the
                         informant's report.

The request by my counsel went completely ignored. Accordingly, in late May of 2003, I asked Mr.

Potenza to again request of the government any information that they possessed regarding this

matter. In a letter dated June 3, 2003 (attached hereto as Exhibit "C"), Mr. Potenza renewed his

request for those materials that he had sought in his letter ofDecember 16, 2003. Nevertheless, once

again- with the exception of a call from a representative of the Marshal's Service saying that he had

no knowledge or information about the matter- Mr. Potenza's request was ignored.

       11.    As more fully set forth in the accompanying Memorandum of Law, the law is well

settled that a trial judge has a self-executing obligation, under 28 U.S.C. §455(a), to recuse herself

once she is informed by a source other than the defendant, that she is the target of a murder plot by

a defendant. If Judge Barry was in fact made aware of a purported plot to kill her, which allegedly

involved the Petitioner, and she was informed of this alleged plot by the FBI and/or the Marshal's

Service, she was obligated by law to recuse herself. Most respectfully, she should not have presided

over and imposed the sentence in my case, nor should she have ruled upon any post trial proceedings



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 Case 2:97-cv-02034-MTB Document 29 Filed 09/04/03 Page 8 of 27 PageID: 268      •

and most importantly, she should not have decided my habeas corpus Petition.

        12.   For the reasons more fully described in the accompanying Memorandum of Law, I am

entitled to discovery of the information that relates to these matters so that I may have a fair

opportunity to raise and litigate the issue of whether the rulings and decisions of Judge Barry -

subsequent to her being informed of this alleged murder plot- should be vacated, nunc pro tunc.

Accordingly, an Order of this Court should issue directing the Office of the United States Attorney

for the District ofNew Jersey, the Federal Bureau of Investigation and the United States Marshal's

Service to provide Petitioner with all relevant information which relates to this alleged July 1989

murder plot and any and all information with respect to the notification of Judge Barry, including

but not limited to a description of any measures that may have been undertaken to guard or otherwise

protect Judge Barry and/or any other the other individuals said to be potential targets of the alleged

plot.




        I, Louis A. Manna, pursuant to the provisions of28 U.S.C. § 1746, declare under penalty of

perjury that the foregoing statements are true and correct.




Fairton, New Jersey
Executed on this J1 day of August, 2003




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                            FOR INFORMATION OF ALBANY CAPTIONED SUBJECTS CASELLAt
        .3          DANIELLO, DE SCISCIO, MANNA,
                                                                                                                                  RECENTLY CONVICTED
        4           IN USDC, NEWARK IN AN ORGANIZED CRIME MATTER, -BEFORE JUDGE MARY
        5           ANN TRUMP BARRY.             SENTENCING IS PENDING.                                          AUSA MICHAEL CHERTOFF
        6           WAS

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              POLYGRAPH EXAMINATION.                         HE AGREED; HOWEVER, WHEN WITH THE
  14
              EXAMINER HE DECIDED HE WOULD NOT TAKE THE EXAMINIATION UNTIL HIS
  15
                             ME'l' WI'.L'H SOMEONE FROM THE U. S. ATTORNEY 1 S
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                     CASE AGENT IN NK lSJA-329 (MANNA CASE) HAS PREPARED THE FOLLOWING .
       2             ASSESSMENT:
       3                  THREAT ASSESSMENT:    TRADITIONAL ORGANIZED CRIME.
       4                  LOUIS ANTHONY MANNA IS ALLEGED TO · BE AND, IN FACT, WAS ·
       5            ·coNVICTED ON 6/26/89 OF CONTROLING A PARTICULARLY VIOLENT FACTION

       6            OF THE GENOVESE LCN. - - THE TRIAL OF -MANNA, ET AL, WAS AN INTENSIVE

       7             FFORT BY AUSA, MIKE CHERTOFF AND IT IS CERTAINLY CONCEIVABLE

       8
                    THAT MANNA WOULD HOLD CHERTOFF SINGULARLY RESPONSIBLE FOR THE
                    CONVICTIONS.   LIKE WISE , JUDGE MARYANNE TRUMP BARRY'S COURTROOM
       9
                    PRESENCE COULD BE PERCEIVED BY MANNA TO HAVE BEEN A DETRIMENT TO
      10
                    HIS DEFENSE STRATEGY.
      , 1
                          AT THIS POINT, NO AVAILABLE INFORMATION EXISTS TO                    ~    AN
      12
                    INFORMED JUDGEMENT AS TO MANNA'S CONTINUED STATURE WITHIN THE
      13                                                                                                           .:t:;~
                    GENOVESE LCN AND IT THEREFOR MUST BE ASSUMED THAT HE CONTINUES TO
                                                                                                               I:,):':'!~~-~:   I.

      14
                    MAINTAIN A POSITION WITHIN THE HEREARCHY OF THE FAMILY.                      MANNA'S             ·~~i:: ~
                                                          ,.
      15
                    REPUTATION AND EVIDENCE PRESENTED AT HIS TRIAL INDICATE THAT HE
      16
                    IS MORE THAN CAPABLE OF ORDERING THE EXECUTION OF OTHERS.
      17           MANNA'S CONVICTION FOR PLOTTING THE EXECUTION OF BOTH JOHN AND
      18           GENE GOTTI IS'BASIS TO BELIVE THAT HE IS CAPABLE OF ORDERING THE
      19           EXECUTION
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Case 2:97-cv-02034-MTB Document 29 Filed 09/04/03 Page 20 of 27 PageID: 280
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       Case 2:97-cv-02034-MTB Document 29 Filed 09/04/03 Page 21 of 27 PageID: 281     •            •
\ ..
                                               PaulL~      Potenza
                                                   A1TORNEY AT LAW
                                                   ·155 Polifly Road
                                          Hackensack! New Jersey 07601
                                              Tei: (201) 342-1700
                                              Fax: (201) 343-5181

                                                                               December 16, 2002
           United States Attorney's Office
                  for the District of New Jersey
           970 Broad Street, Room 700         ·
           Newark, New Jersey 07102

           Attention: A.lJ.S.A. Kevin E. McCarthy,,Chief, Strike Fo~~e Diyision




          Re: MANNA, Louis Anthony adv. United States
               Crim. No. 88-239



          Dear Mr. McCarthy:

                 You will recall that I previously requested and wrote to you (see copy 9/12/02
         correspondence attached hereto) regarding your efforts to locate the photographs and
         negatives my client Louis Anthony Manna produced at his trial of his son's birthday
         party on January 10, 1988~ as well as copies of any Jencks material which may hav~ been
         produced at trial. Please advise of your success in these regards.

                 Most recently, in July of this year, Mr. Manna received numerous documents
        pursuant to his requests through the Freedom of Informati~n Act. These have revealed a
        number of official FBI inquiries and activities of which neither he nor his trial counsel
        were ever made aware. As a result of these FOIA disclosures, I now make the following
        official requests of your Office:          ·

                       1.         I enclose a 1-page FBI memorandum dated 2/23/89 whereby the
        Newark Office is requesting of the New York Office copies of photos, prints and
        handwriting exemplars pertaining to Mr. Manna. We know these docl,UD.ents were
        secured by the New York FBI pursuant to a Grand Jury Subpoena on March 5, 1987. I
        hereby request copies of these documents sent to your Office pursuant to this request.

                         2.        I enclose a 2-page FBI me~orandwnlteletype dated 4/25/88
         requesting that its Boston Office send a Special Agent to Newark to help identify voices
       . on tape recordings. Neither the identity of this Agent nor his background and
        experience/expertise was ever disclosed to Mr. Manna or his trial counsel and a formal
        request is hereby made for the identity of this Agent.
                    •                             •
Case 2:97-cv-02034-MTB Document 29 Filed 09/04/03 Page 22 of 27 PageID: 282      •               •




                  3.         I enclose copies of an FBI memorandum dated 2/23/89 from the
   Newark to the New York office requesting copies of tapes in the "Ostrakova"
   investigation, and a second memorandum dated 3/9/89 whereby :the Newark Office
   acknowledges receipt of these tapes. I hereby request copies of these tapes as well as any
   reports, memorandums, etc. prepared by the FBI or its agents in conjunction with their
   review/investigation of same.

                  4.          I enclose copies of 13-pages ofF~! memorandum/teletype
   dated July 1989 pertaining to an alleged conspiracy by Mr. Manna, and some of his
   fellow Defendants at trial, to·harmJudgeBarry,·Mr.:Chertoff; and others. Same refers to
   a polygraph given to the informant, and the fact that the victims of the alleged conspiracy
  were notified of the threat. Accordingly, I request on behalf of Mr. Manna (a) copies of
  the interview(s) of and/or statements and information given by the·informant; (b) the
  results of any polygraph test given to the informant; (c) disclosure of the precise date
 Judge Barry, Mr. Chertoffand the other victims ofthe alleged conspiracy were advised of
 same; (d) disclosure of any security or other precautions provided to the victims of the
 alleged conspiracy; and, (e) copies of all internal memorandums and investigative reports
 prepared in connection with the FBI's investigation of the informant's report. I wish to
 emphasize that Mr. Manna does NOT seek the identity of the informant at this time.

        By copy hereof to the United States Marshals Service (Newark), I am including
 that Government Agency in my request #4 next above for the infonnation described, and
 providing it with copies of the relevant 13-page FBI memorandum/teletype.

       Thank you.

                                                            Very truly yours,


                                                        PAULL. POTENZA
Attachment & Encls.
Cc:   United States Marshals Service (Newark, NJ)(w/13-pp. encls.)
      Mr. Louis Anthony Manna (w/encls.)
10
                      •              •                                   •
     Case 2:97-cv-02034-MTB Document 29 Filed 09/04/03 Page 23 of 27 PageID: 283   •               •
                                                Paul L Potenza
                                                   ATIOitl'IIEY AT LAW

                                                 155 Polifly Road
                                           Hackensack, New Jersey 07601
                                                Tel: (201) 342-1700
                                                Fax: (201) 343-5181

                                                                                June 3, 2002




           United States Attorney's Office
                  for the District of New Jersey
           970 Broad Street, Room 700
           Newark, New Jersey 07102

           Attention: A. U.S.A. Kevin E. McCarthy, Chief, Strike Force Division




           Re: MANNA, Louis Anthony adv. United States
                Crim: No. 88-239



          Dear Mr. McCarthy:

                   You will recall that on December 16, 2002, I wrote toyour office (with a copy to
          the U.S. Marshal's Service, Newark), forwarding copies of 13-pages of FBI
          memorandum/teletype dated July 1989 pertaining to an alleged conspiracy by Mr.
          Manna, and some of his fellow Defendants at their trial in U.S. District Court in 1989, to
          harm Judge Barry, Mr. Chertoff (who was prosecuting their matter), and others. Same
          refers to a polygraph given to the informant, and the fact that the victims of the alleged
          conspiracy were notified of the threat. I have never received a response to my request.
          Accordingly, I request on behalf of Mr. Manna:

                           (a)       copies of the interview(s) of and/or statements and information
          given by the informant;
                          (b)        the results of any polygraph test given to the informant and the
         date(s) thereof;
                          (c)        disclosure of the precise date Judge Barry, Mr. Chertoff and
         the other victims of the alleged conspiracy were advised of same;
                          (d)        disclosure of any security or other. precautions provided to the
         victims of the alleged conspiracy; and,
                          (e)      ·copies of all internal memorandums and investigative reports
         prepared in connection with the FBI's investigation ofthe informant's report.
                 •              •                              •
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             I wish to emphasize that Mr. Manna does NOT seek the identity of the informant
      at this time so that you may redact any such identifiers from the relevant documents.

            I am re-enclosing copies of the 13-pages referred to for your convenience.

            By copy hereofto the United States Marshals Service (Newark), I am repeating
     my request of that Agency as well (and enclosing copies of the 13-pages).
            Finally, your timely response to this request is imperative as there is a fast-
     approaching deadline for the filing of a post-conviction motion on behalf of Mr. Manna.

            Thank you.

                                                                Vety~truly   yours,


                                                             PAULL. POTENZA
     Ends.
     Cc:   Unit    tates Marshals Service (Newark, NJ)(w/13-pp. encls.)
             . Louis Anthony Manna
  bee:    Mrs. Juliette Principato
                •               •                              •
Case 2:97-cv-02034-MTB Document 29 Filed 09/04/03 Page 25 of 27 PageID: 285    •               •

                      Petitioner's Preliminary Requests For Discovery
                     Pursuant To 28 U.S.C. §2255, Procedural Rule 6 (b)


        Petitioner, Louis Anthony Manna, pursuant to Rule 6(b) of the Procedural Rules governing
petitions under 28 U.S.C. §2255, hereby respectfully requests that the following documents be
produced for Petitioner's discovery, inspection and/or copying:

         1. Any and all documents 1 in the possession custody and/or control ofthe (a) United States
District Court for the District of New Jersey, (b) the Federal Bureau of Investigation, (c) the United
States Marshal's Service and/or (d) the Office ofthe United States Attorney For The District ofNew
Jersey, that relate to the information contained in a FBI "priority memorandum," dated July 24, 1989
("FBI Memorandum,"submitted herewith as Exhibit "A") and/or any documents that relate in any
way to an investigation, more fully described in the FBI Memorandum, concerning a plot/conspiracy,
allegedly involving the Petitioner, to kill or otherwise harm Judge Maryanne Trump Barry, former
Assistant United States Attorney, Michael Chertoff, and/or the former United States Attorney for the
District ofNew Jersey, Samuel A. Alito.

        2. Pursuant to Procedural Rule 6(b) of28 U.S.C. §2255, Rule 36 ofthe Fed. R. Civil Pro.,
and L. Civ. Rules 36.1 and 83.3 of the Local Rules ofthe United States District Court for the District
ofNew Jersey, Petitioner further makes the following requests for admission by a duly authorized
representative of the United States District Court for the District of New Jersey:

       ADMIT THAT:
       REQUEST NO. I.        That in or about July of 1989, Judge Maryanne Trump Barry was
informed by law enforcement officials and/or others, of a possible plot or conspiracy, involving
Louis A. Manna and possibly others, to kill or otherwise injure Judge Barry, and/or then AUSA
Michael Chertoff, and/or then United States Attorney, Samuel Alito.

       RESPONSE:


       ADMIT THAT:
       REQUEST NO. II             That Judge Maryanne Barry was informed of this alleged
plot/conspiracy on or about the _ _ _ _ day of         1989




 As used herein, the term "document" is to be interpreted consistent with the description contained
in Rule 34(a) of the Fed. R. Civil Pro., and shall include, but not be limited to, any writings,
memoranda, reports, airtels, facsimiles, drawings, charts, photographs, tape recordings, lie detector
reports and/or data, computer data or any other data compilation from which information can be
obtained or, if need be, translated through detection devices into reasonably usable form.
                •               •                               •
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        3. Pursuant to Procedural Rule 6(b) of28 U.S.C. §2255, Rule 36 of the Fed. R. Civil Pro.,
and L. Civ. Rules 36.1 and 83.3 ofthe Local Rules of the United States District Court for the District
ofNew Jersey, Petitioner further makes the following requests for admission by a duly authorized
representative of the Federal Bureau oflnvestigation:

       ADMIT THAT:
       REQUEST NO. III. That in or about July of 1989, Judge Maryanne Trump Barry was
informed by law enforcement officials and/or others, of a possible plot or conspiracy, involving
Louis A. Manna and possibly others, to kill or otherwise injure Judge Barry, and/or then AUSA
Michael Chertoff, and/or then United States Attorney, Samuel Alito.

       RESPONSE:




       ADMIT THAT:
       REQUEST NO. IV. That Judge Maryanne Barry was informed of this alleged
plot/conspiracy on or about the ____ day of  1989



        4. Pursuant to Procedural Rule 6(b) of28 U.S.C. §2255, Rule 36 ofthe Fed. R. Civil Pro.,
and L. Civ. Rules 36.1 and 83.3 ofthe Local Rules ofthe United States District Court for the District
ofNew Jersey, Petitioner further makes the following requests for admission by a duly authorized
representative of the United States Marshal Service:

       ADMIT THAT:
       REQUEST NO. V. That in or about July of 1989, Judge Maryanne Trump Barry was
informed by law enforcement officials and/or others, of a possible plot or conspiracy, involving
Louis A. Manna and possibly others, to kill or otherwise injure Judge Barry, and/or then AUSA
Michael Chertoff, and/or then United States Attorney, Samuel Alito.

       RESPONSE:




       ADMIT THAT:
       REQUEST NO. VI. That Judge Maryanne Barry was informed of this alleged
plot/conspiracy on or about the ____ day of  1989
                •               •                               •
Case 2:97-cv-02034-MTB Document 29 Filed 09/04/03 Page 27 of 27 PageID: 287     •               •

        5. Pursuant to Procedural Rule 6(b) of28 U.S.C. §2255, Rule 36 of the Fed. R. Civil Pro.,
and L. Civ. Rules 36.1 and 83.3 of the Local Rules of the United States District Court for the District
of New Jersey, Petitioner further makes the following requests for admission by a duly authorized
representative of the Office of the United States Attorney For The District of New Jersey:

       ADMIT THAT:
       REQUEST NO. VII. That in or about July of 1989, Judge Maryanne Trump Barry was
informed by law enforcement officials and/or others, of a possible plot or conspiracy, involving
Louis A. Manna and possibly others, to kill or otherwise injure Judge Barry, and/or then AUSA
Michael Chertoff, and/or then United States Attorney, Samuel Alito.


       RESPONSE:




       ADMIT THAT:
       REQUEST NO. VIII. That Judge Maryanne Barry was informed of this alleged
plot/conspiracy on or about the ____ day of   1989
